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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                    :
UNITED STATES OF AMERICA
                                    :

     v.                             : Criminal Case No. DKC 15-317-008

                                    :
JOSEPH MILES
                                    :

                             MEMORANDUM OPINION

     Joseph Miles is serving a 108-month sentence imposed in

February 2017, for conspiracy to distribute and possess with intent

to distribute 28 grams or more of cocaine base.                  The offense

conduct concluded in 2015.       He filed, pro se, a Motion to Reduce

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (Compassionate

Release), followed by supplements.            (ECF Nos. 686, 688, 694).

Counsel then filed an emergency motion (ECF Nos. 695, 697).                  The

Government filed an opposition, (ECF No. 699), and Mr. Miles,

through counsel, replied.         (ECF No. 702).1       For the following

reasons, the motion for compassionate release will be DENIED.

     Ordinarily,    “[t]he      court   may    not    modify     a   term     of

imprisonment once it has been imposed.”              18 U.S.C. § 3582(c)

(2018).   This general rule is subject to certain exceptions,

including the compassionate release provision, which allows the


     1  The motions to seal (ECF Nos. 691, 696, 698, 701) are
GRANTED. The personal medical information should remain private,
except as recited herein.
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Bureau of Prisons (“BOP”) to seek a modification of a prisoner’s

sentence.    See id. § 3582(c)(1)(A).       Under the First Step Act of

2018, the compassionate release provision was modified to allow

prisoners to seek a sentencing reduction directly from the court.

The provision now provides, in relevant part, that:

                  The court may not modify a term of
            imprisonment once it has been imposed except
            that:

                 (1)   in any case that—

                  (A) the court, upon motion of the
            Director of the Bureau of Prisons, or upon
            motion of the defendant after the defendant
            has fully exhausted all administrative rights
            to appeal a failure of the Bureau of Prisons
            to bring a motion on the defendant’s behalf or
            the lapse of 30 days from the receipt of such
            request by the warden of the defendant’s
            facility, whichever is earlier, may reduce the
            term of imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that—

                  (i) extraordinary     and          compelling
            reasons warrant such a reduction;

                  (ii) the defendant is at least 70 years
            of age, has served at least 30 years in prison,
            pursuant to a sentence imposed under section
            3559(c), for the offense or offenses for which
            the defendant is currently imprisoned, and a
            determination has been made by the Director of
            the Bureau of Prisons that the defendant is
            not a danger to the safety of any other person
            or the community, as provided under section
            3142(g);


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          and that such a reduction is consistent with
          applicable policy statements issued by the
          Sentencing Commission[.]

Judge Hollander described the next step of the analysis as follows:

                Accordingly, in order to be entitled to
          relief under 18 U.S.C. § 3582(c)(1)(A)(i), a
          defendant    must    demonstrate    that   (1)
          “extraordinary    and    compelling   reasons”
          warrant a reduction of the sentence; (2) the
          factors set forth in 18 U.S.C. § 3553(a)
          countenance a reduction; and (3) the sentence
          modification is “consistent” with the policy
          statement issued by the Sentencing Commission
          in U.S.S.G. § 1B1.13.

                U.S.S.G. § 1B1.13 is titled “Reduction
          in Term of Imprisonment under 18 U.S.C. §
          3582(c)(1)(A) Policy Statement.”    The text
          mirrors the statute.   Application Note 1 of
          U.S.S.G. § 1B1.13 defines “Extraordinary and
          Compelling Reasons” in part as follows
          (emphasis added):

               1. Extraordinary and Compelling Reasons.
          Provided the defendant meets the requirements
          of   subdivision   (2),   extraordinary   and
          compelling reasons exist under any of the
          circumstances set forth below:

                (A) Medical Condition of the Defendant.—

               (i) The defendant is suffering from a
          terminal illness (i.e., a serious and advanced
          illness with an end of life trajectory). A
          specific prognosis of life expectancy (i.e.,
          a probability of death within a specific time
          period) is not required.     Examples include
          metastatic solid-tumor cancer, amyotrophic
          lateral sclerosis (ALS), end-stage organ
          disease, and advanced dementia.

                (ii) The defendant is—

               (I) suffering from a serious physical or
          medical condition,

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           (II) suffering from a serious functional
      or cognitive impairment, or

           (III)     experiencing      deteriorating
      physical or mental health because of the aging
      process, that substantially diminishes the
      ability of the defendant to provide self-care
      within the environment of a correctional
      facility and from which he or she is not
      expected to recover.

           Other    extraordinary    and    compelling
      reasons include the age of the defendant
      (Application     Note    1(B))     and    Family
      Circumstances     (Application    Note    1(C)).
      Application Note 1(D) permits the court to
      reduce a sentence where, “[a]s determined by
      the Director of the Bureau of Prisons, there
      exists   in     the    defendant’s     case   an
      extraordinary and compelling reason other
      than, or in combination with, the reasons
      described in subdivisions (A) through (C).”
      U.S.S.G. § 1B1.13 App. Note 1(D).

            The BOP regulation appears at Program
      Statement        5050.50,       Compassionate
      Release/Reduction in Sentence: Procedures for
      Implementation of 18 U.S.C. §§ 2582 and 4205.
      The Guideline policy statement in U.S.S.G. §
      1B1.13, along with the application notes, and
      BOP    Program   Statement   5050.50   define
      “extraordinary and compelling reasons” for
      compassionate release based on circumstances
      involving illness, declining health, age,
      exceptional family circumstances, as well as
      “other reasons.”

            On March 26, 2020, Attorney General
      William Barr issued a memorandum to Michael
      Carvajal, Director of the BOP, directing him
      to prioritize the use of home confinement for
      inmates at risk of complications from COVID-
      19. See Hallinan v. Scarantino, 20-HC-2088-
      FL, 2020 WL 3105094, at *8 (E.D.N.C. June 11,
      2020).   Then, on March 27, 2020, Congress
      passed the Coronavirus Aid, Relief, and

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           Economic Security Act (the “CARES Act”), Pub.
           L. No. 116-136, 134 Stat. 281. In relevant
           part, the CARES Act authorized the Director of
           BOP to extend the permissible length of home
           confinement to any inmate....” Id.
                 The Department of Justice (“DOJ”) has
           recognized the unique risks posed to inmates
           and BOP employees from COVID-19.      The DOJ
           recently adopted the position that an inmate
           who presents with one of the risk factors
           identified by the CDC should be considered as
           having an “extraordinary and compelling
           reason” warranting a sentence reduction. See
           also U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).

United States v. Gary Kess, Jr., No. CR ELH-14-480, 2020 WL

3268093, at *3–4 (D. Md. June 17, 2020) (footnote omitted).

     Mr.   Miles   argues    that   he   meets   the   “extraordinary        and

compelling reasons” standard due to his age and “life-threatening

medical conditions” during the COVID-19 pandemic.             He argues that

analysis of the relevant sentencing factors supports release.

     He recites that he is 67 years old, suffers from prostate

cancer, diabetes, lung disease, and hypertension.             He is housed at

FCI Cumberland and asserts that his risk of contracting COVID-19

is high given the crowded conditions and limited ability to take

self-protective measures.     His underlying offense did not indicate

a propensity for violence, he has a “flawless” disciplinary record,

and has dedicated himself to self-improvement while incarcerated.

He currently will be eligible for release in just over two years

and proposes to live with his sister if released early.




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     The Government opposes release, and argues that there are

countervailing considerations, including the fact that some of the

criminal conduct occurred both before and after his surgery for

prostate cancer in 2015, that prison records show that his cancer

is in remission, and that, while he has been diagnosed with

diabetes and hypertension, he is apparently asymptomatic and has

refused treatment.     The Government also asserts that Mr. Miles

continues to be a danger to the community and that his age does

not mean that he is not likely to reoffend.              Other factors it

argues cut against relief include the BOP response to the COVID-

19 outbreak and the fact that he initially received a lenient

sentence due to medical concerns.

     It is not necessary to repeat all of the decisions that have

gone before this one.        Suffice it to say that the presence of

medical risk factors during the COVID-19 pandemic, particularly in

someone of Mr. Miles’ age, can constitute the basic qualification

for consideration.     And, while determining whether one will or

will not be a danger to the community if released can be a stand-

alone consideration, so too is it relevant to assessment under the

§ 3553(a) factors.

     Section 3553(a) provides that “[t]he court shall impose a

sentence that is sufficient, but not greater than necessary,” to

comply   with   the   following   purposes:       “(A)    to    reflect      the

seriousness of the offense, to promote respect for the law, and to

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provide just punishment for the offense; (B) to afford adequate

deterrence to criminal conduct; (C) to protect the public from

further crimes of the defendant; and (D) to provide the defendant

with needed educational or vocational training, medical care, or

other correctional treatment in the most effective manner.”                             18

U.S.C. § 3553(a).         In making that determination, the court must

also consider “the nature and circumstances of the offense and the

history and characteristics of the defendant.”

       Mr. Miles entered into a plea agreement prescribing a sentence

between 96 and 144 months, lower than the applicable career

offender      guideline   range    of   188       to    235   months.         His    prior

convictions placed him in criminal history VI without regard to

the career offender calculation, even though some of his priors

received no points due to their age.                In short, he has a long and

significant      criminal   history.          The      instant     offense      occurred

approximately a year after he was paroled form state sentences for

narcotics conspiracy.        His age and medical conditions were cited

as among the reasons for a below guidelines sentence.                               He was

sentenced to 108 months, toward the bottom of the agreed range.

While the presence of COVID-19 in our community and prisons

justifies looking again at the sentence Mr. Miles is serving, it

does    not   automatically     require    a      reduction.            The   statistics

concerning positive cases in Cumberland remain as they were when

counsel filed the pending motion, nearly a month ago, with no

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current active cases.    The same cannot be said for the community

at large. Early release, of course, does not guarantee no exposure

to the virus.    Mr. Miles’ track record reveals that he is not

particularly deterred by serving prison sentences, and resumes

criminal activity even while under supervision.                The initial

sentence properly balanced the relevant factors and will remain

undisturbed.

     The motion will be DENIED.



                                           /s/
                                 DEBORAH K. CHASANOW
                                 United States District Judge




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